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                    Exhibit A
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                                                                        Exhibit A
                                                                  Served via First-Class Mail
                 Name                                    Attention                         Address 1          Address 2          City     State     Zip
Capital Community Bank                    Capital Community Bank                     Attn: Eric Rollins    1909 W State Rd   Pleasant Grv UT    84062-4081
Capital Community Bank - Sandy Beach      Capital Community Bank - Sandy Beach       1909 W State Rd                         Pleasant Grv UT    84062-4081
Fahad M. Islam                                                                       Address on File
Israel Lopez                                                                         Address on File
Jason Anderson                                                                       Address on File
LTS Entrepreneurs LLC                     LTS Entrepreneurs LLC                      Attn: Sumant Parikh   661 Longfellow Dr Placentia   CA    92870-2012
Lucindy Anderson                                                                     Address on File
Naveen Kumar                                                                         Address on File




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